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                                                                                                          PRIORITY SEND
                                        UNITED STATES DISTRICT COURT
                                       CENTRAL DISTRICT OF CALIFORNIA

                                         CRIMINAL MINUTES ‐‐ GENERAL

Case No.    CR 07‐1048‐VBF                                        Dated: January 15, 2009
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PRESENT: HONORABLE VALERIE BAKER FAIRBANK, U.S. DISTRICT JUDGE

Kendra Bradshaw                                     Lisa Gonzalez                                    John Lulejian
Courtroom Deputy                                    Court Reporter                                 Asst. U.S. Attorney


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U.S.A. vs (Dfts listed below)                         Attorneys for Defendants

4)      Lashawn Andrea Lynch                                                  4)       Alan Eisner
        Present ‐ On Bond                                                              Present ‐ Appointed

PROCEEDINGS:              CHANGE OF PLEA AND SETTING OF SENTENCING DATE

Case called, and counsel make their appearance.

Defendant is sworn. Plea agreement is filed January 8, 2009.

Defendant withdraws her previously entered plea of not guilty and enters a plea of Guilty to Count 3
of the Three‐Count Indictment.

The Court questions the defendant regarding the plea of Guilty and finds a factual and legal basis for
the plea. The Court finds that the defendant, Lashawn Andrea Lynch, has entered her plea freely and
voluntarily with a full understanding of the charges against her and the consequences of her plea.
The Court finds that defendant understands her constitutional and statutory rights and wishes to
waive them. Accordingly, the plea is accepted and entered.

The Court refers the defendant to the Probation Office for the preparation of a pre‐sentence report
and continues the matter to June 8, 2009, at 10:00 am, for sentencing. All other dates are hereby
vacated as to this defendant only.

cc:     PSA, USPO


Counsel are notified that Federal Rule of Criminal Procedure 32 requires the parties to notify the Probation Officer, and each
other, of any objections to the Presentence Report within fourteen (14) days of receipt. Alternatively, counsel may file such
objections not later than twenty‐one (21) days before Sentencing. The Court construes ʺobjectionsʺ to include departure
arguments. Any party intending to move for a continuance of the Sentencing shall, not later than noon on the Monday preceding
the Sentencing, notify opposing counsel and the Courtroom Deputy. Strict compliance with the above is mandatory because
untimely filings interfere with the Court’s preparation for Sentencing. Failure to meet these deadlines is grounds for sanctions.


MINUTES FORM 8                                                                                          Initials of Deputy Clerk kb
CRIM -- COP & SET SENT                                                                                               :32
